 8:08-cr-00151-LSC-FG3        Doc # 99     Filed: 12/01/08    Page 1 of 1 - Page ID # 181




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
             Plaintiff,       )
                              )
    vs.                       )                                 8:08CR151
                              )
OSCAR COLMENARES-GONZALEZ and )                                  ORDER
COLMENARES RODRIGUEZ INC.,    )
                              )
             Defendants.      )


       This matter is before the court on the defendant's motion to continue trial (Doc. 98),
due to defense counsel's medical condition. For good cause shown, trial will be continued
to February 10, 2009. The defendant will be required to file an affidavit or declaration
regarding speedy trial in compliance with the Local Rules of Practice.

       IT IS ORDERED that the motion is granted, as follows:

      1. The jury trial now set for December 9, 2008 is continued to Tuesday, February
10, 2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between December 9, 2008 and February 9, 2009, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act due to co-counsel's illness and the recent appearance of substitute
counsel. Counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

     3. Defendant shall file an affidavit or declaration regarding speedy trial, as required
by NECrimR 12.1 and/or 12.3, no later than December 9, 2008.

       DATED December 1, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
